Case 8:17-cr-00158-DOC Document 3 Filed 11/14/17 Page 1 of 1 Page |D #:5

.FH_ED

ZBllHOV l|4 PH 1523

c ~…. 1. 1~ ~l

i »i'z';>~' \"‘~L`.~Lm

v..... 4 § § §
B,\isl»`~ )~)~M

UNITED STATES DISTRICT QQURT §
CENTRAL DISTRICT OF CALIF€RNIA

 

 

UNITED srArEs oF AMERICA, cAsE NUMBER
PLAINTIFF §,.W~
sA §§ 0 753 _ w » %§§§§
V. §§17 00158 a,:`sz»~»»
MINA KOLTA’ NoTICE To CoURT oF
DEFENDANT(S) RELATED CRIMINAL CASE
(PURSUANT To GENERAL oRDER 14-03)

 

 

Plaintiff United States of America hereby informs the Court that the above-entitled
criminal case may be related to United States v. John Garbino, Case No. SA CR lG-l()O-DOC,
Which:

L Was previously assigned to the Honorable David O. Carter;

has not been previously assigned
The above~entitled cases may be related for the following reasons:

X the cases arise out of the same conspiracy, common scheme, transaction,
series of transactions or events;

 

X the cases involve one or more defendants in common and Would entail
substantial duplication of labor in pretrial, trial or sentencing proceedings if
heard by different judges.

 

Additional explanation (if any):

Dated: November 14, 2017 /s/ AIQO/\/

AUSA MARK AvErs
Assistant United States Attorney

 

